             Case 2:10-cr-00347-DAD Document 244 Filed 02/14/13 Page 1 of 3


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2    Gold River, CA 95670
     Telephone: 916-932-7150
3
     Attorneys for Defendant
4
     Jeremy Gachago
5
6                         IN THE UNITED STATES DISTRICT COURT
7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                 ) Case No. 2:10-cr-00347-MCE
     UNITED STATES OF AMERICA,                    )
10                                                ) STIPULATION AND ORDER
                   Plaintiff,                     ) CONTINUING STATUS CONFERNCE
11                                                )
            v.                                    )
12                                                )
     JEREMY GACHAGO, et al.,                      )
13                                                )
                   Defendant.                     )
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15
            It is hereby stipulated between the parties, Todd Leras, Assistant United States
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17
     Attorney, and Michael Chastaine, attorney for Jeremy Gachago, that the status

18   conference/change of plea date of Thursday, February 7, 2013 should be continued until
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     Thursday, March 14, 2013. The continuance is necessary as counsel for Mr. Gachago is
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     presently in trial and expects to still be in trial on the status conference/change of plea
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22   date of Thursday, February 7, 2013. The continuance is additionally necessary as the
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     government has provided a plea agreement, but the current terms are not yet acceptable to
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     Mr. Gachago; so counsel for Mr. Gachago must continue to engage in negotiations with
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26   the government.
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             Case 2:10-cr-00347-DAD Document 244 Filed 02/14/13 Page 2 of 3


            IT IS STIPULATED that the period of time from the February 7, 2013 up to and
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2    including March 14, 2013 be excluded in computing the time within which the trial must
3    commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and Local
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     Code T4, for ongoing preparation of counsel. It is further stipulated that the need for a
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6    continuance and continued negotiation of counsel outweighs the interests of the public
7    and the defendant in a speedy trial.
8
9
10   Dated: February 5, 2013            By: ____/s/ Michael Chastaine
                                              MICHAEL CHASTAINE
11                                            Attorney for Jeremy Gachago
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14
     Dated: February 5, 2013                   BENJAMIN B. WAGNER
15                                             United States Attorney
16
                                               By: /s/ Todd Leras___
17                                                     Todd Leras
18                                                     Assistant U.S. Attorney

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             Case 2:10-cr-00347-DAD Document 244 Filed 02/14/13 Page 3 of 3



1                                              ORDER
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3           Having reviewed the above stipulation, and good cause appearing, IT IS HEREBY
4    ORDERED that the status conference/change of plea scheduled for Thursday, February
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     7, 2013, at 9:00 a.m. be continued to Thursday, March 14, 2013, at 9:00 a.m. and that the
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7    period from February 7, 2013, to March 14, 2013, is excludable from calculation under
8    the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4. Further, it
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     is ordered that the need for a continuance and continued negotiation of counsel outweighs
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11   the interests of the public and the defendant in a speedy trial.

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     Dated: February 13, 2013
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                                             _______________________________________
16                                           MORRISON C. ENGLAND, JR.
17                                           UNITED STATES DISTRICT JUDGE

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